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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

IN RE NATIONAL PRESCRIPTION                     MDL NO. 2804
OPIATE LITIGATION
                                                Case No. 17-md-2804
This document relates to:
All Cases                                       Hon. Dan Aaron Polster


   MANUFACTURING DEFENDANTS’ REQUEST FOR ORAL ARGUMENT ON
 PLAINTIFFS’ EXECUTIVE COMMITTEE’S EMERGENCY MOTION FOR LEAVE
     TO TAKE TRIAL PRESERVATION DEPOSITION OF DAVID KESSLER

       Manufacturing Defendants respectfully request that the Court hold oral argument on

Plaintiffs’ motion for leave to conduct an emergency “trial preservation deposition” of Dr. David

Kessler on January 13, 2021 (ECF No. 3594).



       Dated: January 8, 2021
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 8, 2021, a copy of Manufacturing Defendants’ request for

oral argument on Plaintiffs’ motion for leave to conduct an emergency “trial preservation

deposition” of Dr. David Kessler was filed electronically. Notice of this filing will be sent to all

parties by operation of the Court’s electronic filing system. Parties may access this filing through

the Court’s system.

                                               By: /s/ Donna M. Welch
                                               Donna M. Welch
